
Turley, J.
delivered the opinion of the court.
Plaintiff in error sued defendant in the Circuit Court for Bradley county, in an action on the case, for wrongfully and unjustly erecting a dam, as the declaration alledges, across a stream of water, and continuing the same, thereby overflowing the lands of plaintiff, &amp;c\ There was a verdict in favor of *30plaintiff for $19 50 for damages. The Circuit Court gave judgment that the plaintiff recover of the defendant the sum of nineteen dollars and fifty cents, together with nineteen dollars and fifty cents costs, and that the defendant recover of the plaintiff the r-esidue of the costs accrued in this cause. On this judgment plaintiff'prosecuted a writ of error in this court.
There is nothing in the record from which we can discover for what purpose the dam complained of was erected. It is charged to have been a wanton act, and to that there is no negative but in the plea of not guilty, which has been found against the defendant. It may be true, and no doubt is, that the dam was erected for a grist mill, or other waterworks of utility, and that fact may have appeared in proof before the Circuit Court, but such fact does not appear in this record, not even in the judgment of the Circuit Court, and we are not authorised to presume it, notwithstanding every reasonable intendment is to be made in favor of verdicts and judgments in inferior courts. The general law is, as declared by the act of 1794, ch. 1, sec. 72, that costs are to follow the event of the suit, but the act of 1811, ch. 91, makes an exception to this general law, in cases of suits for the recovery of damages occasioned by the overflowing of water from the erection and keeping up a grist mill, or other water works of utility. The present case may be within the exception, as indicated by the judgment, but such is not shown to be the fact by the record.
We are, therefore, constrained to reverse the judgment of the Circuit Court, and give judgment in favor of plaintiff for his full costs.
Note. — This is a case which was decided many years ago at Knoxville.
